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                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                       MOLINA HEALTHCARE INC.,
                                   4                                            ,           Case No. 4:21-cv-07935-HSG
                                                        Plaintiff<< (s) >>,
                                   5
                                                                                            APPLICATION FOR ADMISSION
                                                  v.                                        OF ATTORNEY PRO HAC VICE;
                                   6
                                                                                            ORDER
                                       JAZZ PHARMACEUTICALS, INC., et,al.,                  (CIVIL LOCAL RULE 11-3)
                                   7
                                                        Defendant<< (s) >>.
                                   8
                                   9

                                  10          I, Noelle-Kristen Ruggiero      , an active member in good standing of the bar of

                                  11    N.Y. A.D. 2d Department               , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Molina Healthcare Inc.             in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Todd M. Schneider                 , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                      158253
                                       within the State of California. Local co-counsel’s bar number is: _________________.
                                       Lowey Dannenberg, P.C., 44 S. Broadway,             Schneider Wallace Cottrell Konecky LLP, 2000
                                  16   Ste 1100, White Plains, NY 10601                    Powell St., Ste 1400, Emeryville, CA 94608
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (914) 997-0500                                       (415) 421-7100
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       nruggiero@lowey.com                                  tschneider@schneiderwallace.com
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 4952016              .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                    0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: November 9, 2021                                       Noelle-Kristen Ruggiero
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                           FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Noelle-Kristen Ruggiero                 is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:            11/10/2021

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                                                                                  UNITED STATES DISTRICT JUDGE
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                                       Updated 11/2021                                   2
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           Appellate Division of the Supreme Court
                    of the State of New York
                  Second Judicial Department


     I, Maria T. Fasulo, Acting Clerk of the Appellate Division of
the Supreme Court of the State of New York, Second Judicial
Department, do hereby certify that

             Noelle-Kristen Frances Ruggiero
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on September 14,
2011, has duly taken and subscribed the oath of office prescribed
by law, has been enrolled in the Roll of Attorneys and Counselors
at Law on file in this office, is duly registered with the
Administration Office of the Courts, and according to the records
of this Court is currently in good standing as an Attorney and
Counselor-at-Law.



                            In Witness Whereof, I have hereunto set
                            my hand in the City of Brooklyn on
                            November 8, 2021.




                                 Acting Clerk of the Court


CertID-00039754
